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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-01108-DDD-SKC

  BARRY MORPHEW,

         Plaintiff,

  v.

  Chaffee County, Colorado,
  Board of County Commissioners of Chaffee County, Colorado,
  Chaffee County Sheriff’s Department,
  District Attorney Linda Stanley, in her individual and official capacity,
  Chaffee County Sheriff John Spezze, in his individual and official capacity,
  Chaffee County Undersheriff Andrew Rohrich,
  Eleventh Judicial District Attorney’s Office Investigator Alex Walker,
  Deputy District Attorney Jeffrey Lindsey,
  Deputy District Attorney Mark Hurlbert,
  Chaffee County Sheriff’s Detective Robin Burgess,
  Chaffee County Sheriff’s Deputy Randy Carricato,
  Chaffee County Sheriff’s Deputy Scott Himschoot,
  Chaffee County Sheriff’s Sergeant Claudette Hysjulien.
  Chaffee County Sheriff’s Sergeant William Plackner,
  Colorado Bureau of Investigation Director John Camper,
  Colorado Bureau of Investigation Agent Joseph Cahill,
  Colorado Bureau of Investigation Agent Megan Duge,
  Colorado Bureau of Investigation Agent Caitlin Rogers,
  Colorado Bureau of Investigation Agent Derek Graham,
  Colorado Bureau of Investigation Agent Kevin Koback,
  Colorado Bureau of Investigation Agent Kirby Lewis,
  Colorado Bureau of Investigations Deputy Director of Investigations Chris Schaefer,
  Federal Bureau of Investigation Agent Jonathan Grusing,
  Federal Bureau of Investigation Agent Kenneth Harris,

         Defendants.


                           NOTICE OF ENTRY OF APPEARANCE
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         Sophia A. N. Fernald, of DAGNER | SCHLUTER | WERBER LLC, hereby enters

  appearance on behalf of one of the persons named as a defendant in this matter, District Attorney

  Linda Stanley, in her individual and official capacity.



  Respectfully submitted,


  By s/Sophia A. N. Fernald
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     Sophia A. N. Fernald
     DAGNER | SCHLUTER | WERBER LLC
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  Attorneys For Defendant
  Eleventh Judicial District Attorney, Linda Stanley




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                            CERTIFICATE OF SERVICE (CM/ECF)

         I hereby certify that on August 24, 2023, I electronically filed the foregoing NOTICE
  OF ENTRY OF APPEARANCE with the Clerk of Court using the CM/ECF system which will
  send notification of such filing to the following e-mail addresses:

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